Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page1iof9 PagelD9

FILED
2/25/2021 3:57 PM

4 CIT/ESERVE FELICIA PITRE
DISTRICT CLERK

DALLAS CO., TEXAS

Alicia Mata DEPUTY

CAUSE NO. DC-21-02480
CHERMIN LEE; AND LAMARCUS IN THE DISTRICT COURT OF
BELL;
Plaintiffs,
VS.

DALLAS COUNTY, TEXAS

JODY VENTIMIGLIA A/K/A JODY
VENTIMIGLIA, Ill; CATAWBA RENTAL
COMPANY, INCORPORATED; CABLE
TRANSPORT, INC.; AND
COMMSCOPE, INC.;

6eth JUDICIAL DISTRICT

CO? WO? LO) 00? 7) CO? 601 (0) 60? 603 607 6 W)C)

Defendants.

PLAINTIFFS' ORIGINAL PETITION
Plaintiffs Chermin Lee and Lamarcus Bell file Plaintiffs’ Original Petition
complaining of Defendants Jody Ventimiglia A/K/A Jody Ventimiglia, lil, Catawba
Rental Company, Incorporated, Cable Transport, Inc., and Commscope, Inc.
Il. DISCOVERY CONTROL PLAN
Discovery is intended to be conducted under Level 3 pursuant to Rule 190
of the TEXAS RULES OF CiviL PROCEDURE.
ll. RULE 47 PLEADING REQUIREMENTS
As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs’
counse! states that the damages sought are in an amount within the
jurisdictional limits of this Court. As required by Rule 47(c), Texas Rules of Civil
Procedure, Plaintiffs’ counsel states that Plaintiffs seek monetary relief of over

$1,000,000. The amount of monetary relief actually awarded, however, wiil

PLAINTIFFS’ ORIGINAL PETITION — Page 1

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page 2of9 PagelD 10

ultimately be determined by a jury. Plaintiffs also seek pre-judgment and post-
judgment interest at the highest legal rate.
ill. PARTIES

Plaintiff Chermin Lee is an individual resident of Mansfield, Tarrant
County, Texas. Her driver's license number is *****014 and her social security
number is ***-**-*034.

Plaintiff Lamarcus A. Bell is an individual resident of Arlington, Tarrant
County, Texas. His social security number is ***-**-*808.

Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, Ill is an individual

 

resident of North Carolina. Defendant may be served with process at 1772
Wesley Road, Morgantown, North Carolina 28655.

Defendant Catawba Rental Company, Incorporated is a North Carolina

 

corporation. Defendant may be served with process through its registered agent,
Meredith Priestley, 3350 N. Oxford Street, Claremont, North Carolina 28610.

Defendant Cable Transport, Inc. is a North Carolina corporation.
Defendant may be served with process through its registered agent, United
Agent Group Inc. at 15720 Brixham Hill Avenue, #300, Charlotte, North Carolina
28277.

Defendant Commscope, Inc. is a Delaware corporation. Defendant may
be served with process through its registered agent, United Agent Group Inc. at

3411 Silverside Road, Tatnall Building #104, Wilmington, Delaware 19810.

PLAINTIFFS’ ORIGINAL PETITION — Page 2

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page3o0f9 PagelD 11

IV. JURISDICTION AND VENUE

The Court has jurisdiction over the controversy because the damages are
within the jurisdictional limits of this Honorable Court.

This Court has venue over the parties to this action since the incident
complained of herein occurred in Dallas County, Texas. Venue therefore is
proper in Dallas County, Texas pursuant to the TEXAS CiviL PRACTICE & REMEDIES
Cove §15.002.

V. FACTS

This lawsuit arises out of a motor vehicle collision that occurred on or
about Friday, October 4, 2019 on the service road of Highway 360 near Avenue
K within the city limits of Grand Prairie, Dallas County, Texas. Plaintiff Chermin
Lee was operating her vehicle southbound on the service road of Highway 360 in
the middle lane. Plaintiff Lamarcus Bell was a passenger in her vehicle.
Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, {Il was operating his 18-
wheeler southbound exiting Highway 360. Defendant Jody Ventimiglia a/k/a
Jody Ventimiglia, III failed to yield the right-of-way and made an unsafe lane
change into Plaintiffs’ lane colliding hard with the driver's side of Plaintiffs’
vehicle. As a result of the collision, Plaintiffs were injured and continue to suffer

injuries and damages from this incident.

PLAINTIFFS’ ORIGINAL PETITION — Page 3

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page4of9 PagelD 12

Vi. CAUSES OF ACTION

A. NEGLIGENCE — JODY VENTIMIGLIA A/K/A JODY VENTIMIGLIA, II!

At the time of the motor vehicle collision, Defendant Jody Ventimiglia a/k/a

Jody Ventimiglia, !ll was operating his 18-wheeler negligently. Specifically,

Defendant had a duty to exercise ordinary care and operate his 18-wheeler

reasonably and prudently. Defendant breached that duty in one or more of the

following respects:

1.

6.

7.

Defendant failed to keep such proper lookout and attention to the
roadway as a person or ordinary prudence would have kept under
the same or similar circumstances;

Defendant changed lanes when unsafe to do so;

Defendant failed to drive in a single lane;

Defendant failed to keep an assured safe distance from Plaintiffs’
vehicle;

Defendant failed to timely apply the brakes of his 18-wheeler in
order to avoid the collision in question;

Defendant failed to operate his 18-wheeler at a safe speed; and

Defendant failed to yield the right-of-way.

B. NEGLIGENT ENTRUSTMENT — DEFENDANTS CATAWBA RENTAL
COMPANY, INCORPORATED, CABLE TRANSPORT, INC., AND
COMMSCOPE, INC.

As an additional cause of action, Plaintiffs would show that at the time and

on the occasion in question, Defendants Catawba Rental Company,

Incorporated, Cable Transport, Inc., and Commscope, Inc. were the owners of

the vehicle driven by Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, III.

Defendants Catawba Rental Company, Incorporated, Cable Transport, Inc., and

PLAINTIFFS’ ORIGINAL PETITION — Page 4

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page5of9 PagelD 13

Commscope, Inc. entrusted the vehicle to Defendant Jody Ventimiglia a/k/a Jody
Ventimiglia, III. Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, Ill was
unlicensed, incompetent, and/or reckless and Defendants Catawba Rental
Company, Incorporated, Cable Transport, Inc., and Commscope, Inc. knew or
should have known that Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, III
was unlicensed, incompetent, and/or reckless. Defendant Jody Ventimiglia a/k/a
Jody Ventimiglia, III's negligence on the occasion in question proximately caused
the collision.

Cc. RESPONDEAT SUPERIOR — DEFENDANTS CATAWBA RENTAL
COMPANY, INCORPORATED, CABLE TRANSPORT, INC., AND
COMMSCOPE, INC.

Additionally, Plaintiffs would show that at the time and on the occasion
complained of, Defendant Jody Ventimiglia a/k/a Jody Ventimiglia, Il! was in the
course and scope of his employment with Defendants Catawba Rental Company,
Incorporated, Cable Transport, Inc., and Commscope, Inc. thereby making
Defendants Catawba Rental Company, Incorporated, Cable Transport, Inc., and

Commscope, Inc. liable under the doctrine of Respondeat Superior.

D. NEGLIGENCE — DEFENDANTS CATAWBA RENTAL COMPANY,
INCORPORATED, CABLE TRANSPORT, INC., AND COMMSCOPE,
INC.

Defendants Catawba Rental Company, Incorporated, Cable Transport,
Inc., and Commscope, Inc. failed to properly train and/or supervise Defendant

Jody Ventimiglia a/k/a Jody Ventimiglia, Ill in order to prevent such collision.

PLAINTIFFS’ ORIGINAL PETITION — Page 5

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page6of9 PagelD 14

Each of the above and foregoing acts and omissions, singularly or in
combination, constituted the negligence that was the proximate cause of the
motor vehicle collision and consequently the injuries and damages of Plaintiffs.

Vil. DAMAGES

As a proximate result of Defendants’ negligence, Plaintiffs suffered

extensive injuries and damages. As a result of Plaintiffs’ injuries, Plaintiffs

suffered the following damages:

a. Medical expenses in the past and future;

b. Plaintiffs’ lost wages in the past and loss of earning capacity in the
future;

C. Physical pain and suffering in the past and future;

d. Mental anguish in the past and future; and

e. Physical impairment in the past and future.

Vill. INTENT TO USE DEFENDANTS' DOCUMENTS
Plaintiffs hereby give notice of intent to utilize items produced in discovery
against the party producing same. The authenticity of such items is self-proven
per TRCP 193.7.
IX. JURY TRIAL
Plaintiffs demand a trial by jury and include the appropriate jury fees.
X. U.S. LIFE TABLES
Notice is hereby given to the Defendants that Plaintiffs intend to use the

U.S. Life Tables as prepared by the Department of Health and Human Services.

PLAINTIFFS’ ORIGINAL PETITION — Page 6

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page 7of9 PagelD 15

XI. RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiffs request that

Defendants be cited to appear and answer herein, and that upon final hearing

thereof, Plaintiffs recover judgment against Defendants for:

1.

10.

Plaintiffs’ past medical expenses, which are reasonable and
customary for the medical care received by Plaintiffs;

Plaintiffs' future medical expenses;

Plaintiffs’ lost wages in the past and loss of earning capacity in the
future;

Plaintiffs’ physical pain and suffering in the past and future in an
amount to be determined by the jury;

Plaintiffs’ mental anguish in the past and future in an amount to be
determined by the jury;

Plaintiffs’ physical impairment in the past and future in an amount to
be determined by the jury;

Interest on the judgment at the legal rate from the date of judgment;
Pre-judgment interest on Plaintiffs' damages as allowed by law;
All costs of court; and

Such other and further relief to which Plaintiffs may be justly
entitled.

PLAINTIFFS’ ORIGINAL PETITION — Page 7

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page 8of9 PagelD 16

BY:

PLAINTIFFS" ORIGINAL PETITION —

Respectfully submitted,

WITHERITE LAW GROUP, PLLC

/s/ Rob Loar

ROB LOAR

State Bar No. 24081007
rob.loar@witheritelaw.com
SHELLY GRECO

State Bar No. 24008168
shelly.greco@witheritelaw.com
10440 N. Central Expressway
Suite 400

Dallas, TX 75231-2228
214/378-6665

214/378-6670 (fax)

ATTORNEYS FOR PLAINTIFFS

Page 8

EXHIBIT B-1
Case 3:21-cv-00779-B Document 1-3 Filed 04/05/21 Page9of9 PagelD 17

Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Erica Lisenbe on behalf of Rob Loar
Bar No. 24081007
Erica.Lisenbe@witheritelaw.com
Envelope ID: 50926045

Status as of 2/26/2021 4:24 PM CST

Associated Case Party: CHERMIN LEE

 

Name BarNumber | Email TimestampSubmitted | Status

 

 

 

Rob Loar Rob.Loar@witheritelaw.com | 2/25/2021 3:57:22 PM | SENT

 

 

 

 

 

EXHIBIT B-1
